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     DENNIS COOPER
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 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                    Case No.:
     DENNIS COOPER,
11                Plaintiff,                          COMPLAINT FOR INJUNCTIVE
                                                      RELIEF AND DAMAGES FOR DENIAL
12         vs.                                        OF CIVIL RIGHTS OF A DISABLED
                                                      PERSON IN VIOLATIONS OF
13
                                                      1. AMERICANS WITH DISABILITIES
14                                                    ACT, 42 U.S.C. §12131 et seq.;
     WGI, INC.; and DOES 1 to 10,
15
                  Defendants.                         2. CALIFORNIA’S UNRUH CIVIL
                                                      RIGHTS ACT;
16
                                                      3. CALIFORNIA’S DISABLED
17                                                    PERSONS ACT;
18                                                    4. CALIFORNIA HEALTH & SAFETY
                                                      CODE;
19
                                                      5. NEGLIGENCE
20
21
22         Plaintiff DENNIS COOPER (“Plaintiff”) complains of Defendants WGI, INC.; and
23   DOES 1 to 10 (“Defendants”) and alleges as follows:
24                                             PARTIES
25         1.     Plaintiff is a California resident with a physical disability. Plaintiff is
26   paraplegic, suffers from immobility syndrome with chronic pain, and is substantially
27   limited in his ability to walk. Plaintiff requires the use of a wheelchair at all times when
28   traveling in public.



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 1            2.   Defendants are, or were at the time of the incident, the real property owners,
 2   business operators, lessors and/or lessees of the real property for a bakery (“Business”)
 3   located at or about 4050 Phelan Rd., Phelan, California.
 4            3.   The true names and capacities, whether individual, corporate, associate or
 5   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 6   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 7   Court to amend this Complaint when the true names and capacities have been
 8   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
 9   fictitiously named Defendants are responsible in some manner, and therefore, liable to
10   Plaintiff for the acts herein alleged.
11            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
12   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
13   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
14   the things alleged herein was acting with the knowledge and consent of the other
15   Defendants and within the course and scope of such agency or employment relationship.
16            5.   Whenever and wherever reference is made in this Complaint to any act or
17   failure to act by a defendant or Defendants, such allegations and references shall also be
18   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
19   and severally.
20                                 JURISDICTION AND VENUE
21            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
22   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
23   seq.).
24            7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
25   arising from the same nucleus of operating facts, are also brought under California law,
26   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
27   54, 54., 54.3 and 55.
28            8.   Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.



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 1         9.     Venue is proper in this court pursuant to 28 USC §1391(b). Defendants
 2   reside in this district, Orange County, California.
 3                                     FACTUAL ALLEGATIONS
 4         10.    In or about August of 2024, Plaintiff went to the Business.
 5         11.    The Business is a bakery business establishment, open to the public, and is a
 6   place of public accommodation that affects commerce through its operation. Defendants
 7   provide parking spaces for customers.
 8         12.    While attempting to enter the Business during each visit, Plaintiff personally
 9   encountered a number of barriers that interfered with his ability to use and enjoy the
10   goods, services, privileges, and accommodations offered at the Business.
11         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
12   included, but were not limited to, the following:
13                a.     Defendants failed to comply with the federal and state standards for
14                       the parking space designated for persons with disabilities. Defendants
15                       failed to provide an access aisle with level surface slope as there was a
16                       permanent ramp installed within the boundary of the access aisle.
17         14.    These barriers and conditions denied Plaintiff the full and equal access to the
18   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
19   patronize the Business; however, Plaintiff is deterred from visiting the Business because
20   his knowledge of these violations prevents him from returning until the barriers are
21   removed.
22         15.    Based on the violations, Plaintiff alleges, on information and belief, that
23   there are additional barriers to accessibility at the Business after further site inspection.
24   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
25   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
26         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
27   knew that particular barriers render the Business inaccessible, violate state and federal
28   law, and interfere with access for the physically disabled.



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 1         17.    At all relevant times, Defendants had and still have control and dominion
 2   over the conditions at this location and had and still have the financial resources to
 3   remove these barriers without much difficulty or expenses to make the Business
 4   accessible to the physically disabled in compliance with ADDAG and Title 24
 5   regulations. Defendants have not removed such barriers and have not modified the
 6   Business to conform to accessibility regulations.
 7                                     FIRST CAUSE OF ACTION
 8          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 9         18.    Plaintiff incorporates by reference each of the allegations in all prior
10   paragraphs in this complaint.
11         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
12   shall be discriminated against on the basis of disability in the full and equal enjoyment of
13   the goods, services, facilities, privileges, advantages, or accommodations of any place of
14   public accommodation by any person who owns, leases, or leases to, or operates a place
15   of public accommodation. See 42 U.S.C. § 12182(a).
16         20.    Discrimination, inter alia, includes:
17                a.     A failure to make reasonable modification in policies, practices, or
18                       procedures, when such modifications are necessary to afford such
19                       goods, services, facilities, privileges, advantages, or accommodations
20                       to individuals with disabilities, unless the entity can demonstrate that
21                       making such modifications would fundamentally alter the nature of
22                       such goods, services, facilities, privileges, advantages, or
23                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
24                b.     A failure to take such steps as may be necessary to ensure that no
25                       individual with a disability is excluded, denied services, segregated or
26                       otherwise treated differently than other individuals because of the
27                       absence of auxiliary aids and services, unless the entity can
28                       demonstrate that taking such steps would fundamentally alter the



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 1                       nature of the good, service, facility, privilege, advantage, or
 2                       accommodation being offered or would result in an undue burden. 42
 3                       U.S.C. § 12182(b)(2)(A)(iii).
 4                c.     A failure to remove architectural barriers, and communication barriers
 5                       that are structural in nature, in existing facilities, and transportation
 6                       barriers in existing vehicles and rail passenger cars used by an
 7                       establishment for transporting individuals (not including barriers that
 8                       can only be removed through the retrofitting of vehicles or rail
 9                       passenger cars by the installation of a hydraulic or other lift), where
10                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
11                d.     A failure to make alterations in such a manner that, to the maximum
12                       extent feasible, the altered portions of the facility are readily
13                       accessible to and usable by individuals with disabilities, including
14                       individuals who use wheelchairs or to ensure that, to the maximum
15                       extent feasible, the path of travel to the altered area and the
16                       bathrooms, telephones, and drinking fountains serving the altered
17                       area, are readily accessible to and usable by individuals with
18                       disabilities where such alterations to the path or travel or the
19                       bathrooms, telephones, and drinking fountains serving the altered area
20                       are not disproportionate to the overall alterations in terms of cost and
21                       scope. 42 U.S.C. § 12183(a)(2).
22         21.    Where parking spaces are provided, accessible parking spaces shall be
23   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
24   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
25   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
26   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
27   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
28




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 1         22.      Under the 1991 Standards, parking spaces and access aisles must be level
 2   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 3   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
 4   shall be part of an accessible route to the building or facility entrance and shall comply
 5   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 6   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 7   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 8   directions. 1991 Standards § 4.6.3.
 9         23.      Here, the access aisle is not level with the parking spaces as there was a
10   permanent ramp installed within the boundary of the access aisle. Under the 2010
11   Standards, access aisles shall be at the same level as the parking spaces they serve.
12   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
13   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
14   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
15         24.      A public accommodation shall maintain in operable working condition those
16   features of facilities and equipment that are required to be readily accessible to and usable
17   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
18         25.      By failing to maintain the facility to be readily accessible and usable by
19   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
20   regulations.
21         26.      The Business has denied and continues to deny full and equal access to
22   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
23   discriminated against due to the lack of accessible facilities, and therefore, seeks
24   injunctive relief to alter facilities to make such facilities readily accessible to and usable
25   by individuals with disabilities.
26   //
27   //
28   //



                                             COMPLAINT - 6
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 1                                 SECOND CAUSE OF ACTION
 2                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 3         27.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         28.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 6   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 7   national origin, disability, medical condition, genetic information, marital status, sexual
 8   orientation, citizenship, primary language, or immigration status are entitled to the full
 9   and equal accommodations, advantages, facilities, privileges, or services in all business
10   establishments of every kind whatsoever.”
11         29.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
12   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
13   for each and every offense for the actual damages, and any amount that may be
14   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
15   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
16   attorney’s fees that may be determined by the court in addition thereto, suffered by any
17   person denied the rights provided in Section 51, 51.5, or 51.6.
18         30.    California Civil Code § 51(f) specifies, “a violation of the right of any
19   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
20   shall also constitute a violation of this section.”
21         31.    The actions and omissions of Defendants alleged herein constitute a denial
22   of full and equal accommodation, advantages, facilities, privileges, or services by
23   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
24   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
25   51 and 52.
26         32.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
27   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
28   damages as specified in California Civil Code §55.56(a)-(c).



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 1                                 THIRD CAUSE OF ACTION
 2               VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 3         33.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         34.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 6   entitled to full and equal access, as other members of the general public, to
 7   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 8   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 9   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
10   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
11   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
12   places of public accommodations, amusement, or resort, and other places in which the
13   general public is invited, subject only to the conditions and limitations established by
14   law, or state or federal regulation, and applicable alike to all persons.
15         35.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
16   corporation who denies or interferes with admittance to or enjoyment of public facilities
17   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
18   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
19   the actual damages, and any amount as may be determined by a jury, or a court sitting
20   without a jury, up to a maximum of three times the amount of actual damages but in no
21   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
22   determined by the court in addition thereto, suffered by any person denied the rights
23   provided in Section 54, 54.1, and 54.2.
24         36.    California Civil Code § 54(d) specifies, “a violation of the right of an
25   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
26   constitute a violation of this section, and nothing in this section shall be construed to limit
27   the access of any person in violation of that act.
28




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 1         37.    The actions and omissions of Defendants alleged herein constitute a denial
 2   of full and equal accommodation, advantages, and facilities by physically disabled
 3   persons within the meaning of California Civil Code § 54. Defendants have
 4   discriminated against Plaintiff in violation of California Civil Code § 54.
 5         38.    The violations of the California Disabled Persons Act caused Plaintiff to
 6   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 7   statutory damages as specified in California Civil Code §55.56(a)-(c).
 8                                FOURTH CAUSE OF ACTION
 9                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
10         39.    Plaintiff incorporates by reference each of the allegations in all prior
11   paragraphs in this complaint.
12         40.    Plaintiff and other similar physically disabled persons who require the use of
13   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
14   such facility is in compliance with the provisions of California Health & Safety Code §
15   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
16   provisions of California Health & Safety Code § 19955 et seq.
17         41.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
18   that public accommodations or facilities constructed in this state with private funds
19   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
20   Title 1 of the Government Code. The code relating to such public accommodations also
21   require that “when sanitary facilities are made available for the public, clients, or
22   employees in these stations, centers, or buildings, they shall be made available for
23   persons with disabilities.
24         42.    Title II of the ADA holds as a “general rule” that no individual shall be
25   discriminated against on the basis of disability in the full and equal enjoyment of goods
26   (or use), services, facilities, privileges, and accommodations offered by any person who
27   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
28   Further, each and every violation of the ADA also constitutes a separate and distinct



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 1    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 2    award of damages and injunctive relief pursuant to California law, including but not
 3    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 4                                    FIFTH CAUSE OF ACTION
 5                                          NEGLIGENCE
 6           43.    Plaintiff incorporates by reference each of the allegations in all prior
 7    paragraphs in this complaint.
 8           44.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 9    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
10    to the Plaintiff.
11           45.    Defendants breached their duty of care by violating the provisions of ADA,
12    Unruh Civil Rights Act and California Disabled Persons Act.
13           46.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
14    has suffered damages.
15                                      PRAYER FOR RELIEF
16           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
17    Defendants as follows:
18           1.     For preliminary and permanent injunction directing Defendants to comply
19    with the Americans with Disability Act and the Unruh Civil Rights Act;
20           2.     Award of all appropriate damages, including but not limited to statutory
21    damages, general damages and treble damages in amounts, according to proof;
22           3.     Award of all reasonable restitution for Defendants’ unfair competition
23    practices;
24           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
25    action;
26           5.     Prejudgment interest pursuant to California Civil Code § 3291; and
27           6.     Such other and further relief as the Court deems just and proper.
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 1                               DEMAND FOR TRIAL BY JURY
 2          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3    demands a trial by jury on all issues so triable.
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 5    Dated: November 7, 2024                        SO. CAL. EQUAL ACCESS GROUP
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 8                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
 9                                                   Attorneys for Plaintiff
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                                            COMPLAINT - 11
